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ROLAN'D G. RlOPELLE
MAURlCE H. SERCARZ'

 

 

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September 28, 2015
BYFACSIMILE . fnb 0 ¢.;5 g fly »~\ fig £{L
Magistrate Judge Michael H. Dolinger ,A ph ,,| c C,;,~{:.». M/§/m;:i'_`~ di r
Magistratc on Duty L/;-'M / b ->_ huff
United States District Court , l
Southern District of New York `/ / .\_ §§ l j/
500 Pearl Street

New York, NY 10007

Re: United States v. D¢_rrcv Wed_d. 15 Cr 616 (Km
Your Honer:

l write to request an extension of time within which the defendant must complete the
terms of his appearance bond.

Background
On September 14, 2015, the instant Indictment was unsealcd. Mr. chd was taken into

custody after he voluntarily surrendered himself at thc Marshal’s Service. His presentment on

the above referenced lndictrncnt took place before Your Honor.

The defendant was released upon his own signature pursuant to an appearance bond. Thc
terms of the bond are as follows:

The defendant signed a $500,000 personal recognizance bond.
Thc bond is to be co-signed by two financially responsible persons
The bond is to be further secured by property with an equity value of $500,000.

'I`ravel is limited to the Southern and l`:`,astern Districts of New York, the Central District
of California, the District ofNevada and travel points in between

 

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'l`he defendant (who is a non-citizen) is to surrender his travel documents and make no
application lfor new documents

The defendant is to be supervised by Pretrial Services in the Central District of
Califomia.

The defendant Was given until Septernber 28, 2015 to meet the conditions of his bond.

The defendant has been monitored in the Central District of California and has been fully
compliant with his bail restrictions

Assurning that the defendant meets the remaining conditions of his bond, we request that
he have an additional two weeks to post property with an equity value of $500,000. We
understand that the government consents to this application

Cnnclusion

For all the reasons set forth herein We respectfully request that the instant application bc
granted

Very truly yours_,

fs/ Maun'ce H. Sercarz

cc; AUSA Christian Evcrdell (by email).

TOTAL P . 003

 

